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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

---------------------------------------------------------------   X
RIGOBERTO ANDUX MIRABAL, GABRIEL                                  |
CANO ARANGO, YOAN AQUINO                                          |
MARTINEZ, LUCAS PEDRONZO TOLEDO,                                  |
JULIO CESAR OCHOA, NELSON BATISTA                                 | Civil Action
CORBO, WILLIAM RICARDO ANTUNEZ                                    |
VALDEZ, and THE ESTATE OF CARLOS                                  |
ALBERTO on behalf of themselves and all others                    | Index No.:
similarly situated who were employed by                           |
Caribbean Car Wash, Inc.                                          |
                                                                  |
                                       Plaintiffs,                |
                   - against -                                    |
                                                                  |
                                                                  |
CARIBBEAN CAR WASH, INC., ULPIANO                                 |
RODRIGUEZ, ROBERTO RODRIGUEZ, and                                 |
OMAR RODRIGUEZ,                                                   |
                                                                  |
                                        Defendants,               |
                                                                  |
---------------------------------------------------------------   X




                      CLASS AND COLLECTIVE ACTION COMPLAINT

           Plaintiffs Rigoberto Andux Mirabal (“Mirabal”), Gabriel Cano Arango (“Arango”),

     Yoan Aquino Martinez (“Martinez”), Lucas Alberto Pedronzo Toledo (“Toledo”), Julio

     Cesar Ochoa (“Ochoa”), Nelson Batista Corbo (“Corbo”), William Ricardo Antunez

     Valdez (“Valdez”), and the Estate of Carlos Alberto (“Alberto”) (collectively, the “Named

     Plaintiffs”), individually and on behalf of those similarly situated (collectively “Plaintiffs”),

     by and through their attorneys, Arenson, Dittmar and Karban, as and for their Complaint

     against Defendants Caribbean Car Wash, Inc. (“CCW”), Ulpiano Rodriguez (“Ulpiano”) ,

     Roberto Rodriguez (“Roberto”), and Omar Rodriguez (“Omar”), (collectively
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      “Defendants”) upon personal knowledge as to themselves and upon information and belief,

      allege as follows:

                                  NATURE OF THE ACTION

1.    This action arises out of Defendants’ failure to pay Plaintiffs the minimum wage, overtime

      compensation, and other monies, as required by the Fair Labor Standards Act, 29 U.S.C §§

      201, et seq., (“FLSA”) and the New Jersey Wage and Hour Law, N.J.S.A. §§ 34:11-56a4 et

      seq. (“NJWHL”).

                                 JURISDICTION AND VENUE

2.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337, and

      supplemental jurisdiction over Plaintiffs’ state law claims pursuant to pursuant to 28 U.S.C.

      § 1367. In addition, the Court has jurisdiction over Plaintiffs’ claims under the FLSA

      pursuant to 29 U.S.C. § 216(b).

3.    This Court is empowered to issue declaratory relief under 28 U.S.C. §§ 2201 and 2202.

4.    Venue is proper in the District of New Jersey pursuant to 28 U.S.C. § 1391(b), because all

      or a substantial part of the events or omissions giving rise to the claims occurred in the

      District of New Jersey.

                                             PARTIES

5.    Plaintiffs are individuals residing in the State of New Jersey who were employees of

      Defendants.

6.    Upon information and belief, Defendant CCW is a business incorporated in the State of

      New Jersey, with its principal place of business at 520 Elizabeth Ave, Elizabeth, NJ 07206.

7.    Upon information and belief, at all relevant times, Defendant CCW has had gross sales or

      business in excess of $500,000 annually.
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8.     Upon information and belief, the Defendant CCW is engaged in interstate commerce.

9.     Upon information and belief, Defendant Ulpiano is a resident of the State of New Jersey

       and is the President of Defendant CCW.

10.    Upon information and belief, Defendant Roberto is a resident of the State of New Jersey

       and is a manager of Defendant CCW.

11.    Upon information and belief, Defendant Omar is a resident of the State of New Jersey and

       is the Vice-President of Defendant CCW.


                                 COLLECTIVE ALLEGATIONS


12.    The Named Plaintiffs bring the First and Third claims in this action against Defendants as a

       collective action pursuant to the F.L.S.A., 29 U.S.C. § 216(b), on behalf of themselves and

       all other similarly situated current and former non-exempt employees who have worked,

       and/or continue to work, for Defendants CCW at any time during the three years prior to

       the filing of this action through the entry of judgment in this action (the “FLSA

       Collective”).

13.    At all relevant times, the Named Plaintiffs and the FLSA Collective have been similarly

       situated, have been governed by similar pay practices and have been subjected to

       Defendants' decisions, policies, plans, programs, practices, procedures, protocols, routines,

       and rules, all culminating in a willful failure and refusal to pay them, among other things,

       the minimum wage and overtime compensation.

14.    Defendants are liable under the FLSA for, inter alia, failing to properly compensate

       Plaintiffs and the FLSA Collective, and as such, notice should be sent to the FLSA

       Collective pursuant to 29 U.S.C. § 216(b).
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15.    The FLSA Collective consists of numerous similarly situated current and former employees

       of Defendants who were subject to the conduct complained of herein and who would

       benefit from the issuance of a court-supervised notice of the present lawsuit and the

       opportunity to join the action. Those similarly situated employees are known to

       Defendants, are readily identifiable, and can be located through Defendants' records.


                                     CLASS ALLEGATIONS

16.    This action is properly maintainable as a class action pursuant to Rule 23 of the Federal

       Rules of Civil Procedure.

17.    One or more of the Named Plaintiffs bring this action on behalf of themselves and a class

       consisting of all similarly situated persons who perform or have performed work for the

       Defendants, washing, cleaning, drying and detailing cars, trucks and other vehicles, and

       performing other non-managerial car-wash-related work, since August 13, 2013 (the

       “Putative Class”).

18.    The Putative Class is so numerous that joinder of all members is impracticable.

19.    The precise size of the Putative Class is unknown to Plaintiffs. The facts on which the

       calculation of that number can be based presently are within the sole control of the

       Defendants. In addition, the names of all potential members of the Putative Class are not

       known.

20.    Upon information and belief, the size of the Putative Class is in excess of 40 individuals.

21.    The questions of law and fact common to the Putative Class predominate over any

       questions affecting only individual members. Such questions include:

       a. Whether Defendants failed to pay Plaintiffs the minimum wage, pursuant to the FLSA

         and the NJWHL;
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       b. Whether Defendants failed to pay Plaintiffs overtime compensation, pursuant to the

         FLSA and the NJWHL;

       c. Whether the Defendants are liable for damages claimed hereunder, including but not

         limited to compensatory damages, liquidated damages, costs and disbursements and

         attorneys' fees; and

       d. Whether the Defendants should be enjoined from engaging in such practices in the

         future.

22.    The claims of one or more of the Named Plaintiffs are typical of the claims of the Putative

       Class.

23.    The Named Plaintiffs and their counsel will fairly and adequately protect the interests of

       the Putative Class.

24.    A class action is superior to other available methods for the fair and efficient adjudication

       of this controversy.

                                    STATEMENT OF FACTS

                                FACTS COMMON TO ALL PLAINTIFFS

25.    Upon information and belief, since at least approximately 2002, Defendants have employed

       numerous individuals as car washers, cleaners, driers, detailers, and other occupations

       related to the car-wash business.

26.    Upon information and belief, Defendants Ulpiano, Roberto and Omar have made the

       decisions for Defendant CCW, including decisions regarding hiring, firing, payment of

       wages, assignment of work, contractual matters, and all other administrative and company

       policy matters, either directly or through agents.
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27.    Upon information and belief, Defendants Ulpiano, Roberto and Omar have actively

       managed, supervised, and directed, and continue to actively manage, supervise and direct,

       the business and operations of Defendant CCW, either directly or through agents.

28.    Upon information and belief, Defendants Ulpiano, Roberto and Omar have maintained

       records of Plaintiffs’ employment and pay, either directly or through agents.

29.    Upon information and belief, Defendants Ulpiano, Roberto and Omar have maintained an

       office on the premises of the car wash where Plaintiffs worked.

30.    In sum, Defendants Ulpiano, Roberto and Omar have exercised complete dominion and

       control over Defendant CCW.

31.    Upon information and belief, at all relevant times, Defendants acted as Plaintiffs'

       employers, within the meaning contemplated pursuant to 29 U.S.C. § 203(d) and N.J.S.A.

       §§ 34:11-56a1.

32.    Upon information and belief, at all relevant times, Plaintiffs were employees of Defendants

       within the meaning contemplated pursuant to 29 U.S.C. § 203(e) and N.J.S.A. §§ 34:11-

       56a1.

33.    Upon information and belief, at all relevant times, the activities of Defendant CCW

       constituted an “enterprise,” within the meaning of Sections 3(r) and 3(s) of the FLSA, 29

       U.S.C.§§ 203(r), (s).

34.    Upon information and belief, Defendant CCW is an “enterprise engaged in commerce”

       within the meaning contemplated pursuant to 29 U.S.C. § 201 et seq., and the cases

       interpreting it.

35.    Upon information and belief, Defendants Ulpiano, Roberto and Omar managed and

       exercised control over the Named Plaintiffs, either directly or through agents.
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36.    Upon information and belief, Plaintiffs regularly were required to perform work for

       Defendants without receiving proper minimum wages and overtime compensation as

       required by applicable federal and state law.

37.    Upon information and belief, the payments made to Plaintiffs by Defendants constitute

       “wages” as that term is defined under 29 U.S.C. § 203(m) and N.J.S.A. §§ 34:11-56a1.

38.    Upon information and belief, Defendants engaged in a regular pattern and practice of

       permitting the unlawful taking of tipped employees’ earned tips by management employees

       in violation of the FLSA.

39.    Upon information and belief, Defendants never advised Plaintiffs of the tip credit

       provisions pursuant to the FLSA and the cases interpreting it.

40.    Upon information and belief, Defendants willfully disregarded and purposefully evaded

       recordkeeping requirements of the FLSA and NJWHL by failing to maintain proper and

       complete timesheets or payroll records.

41.    Upon information and belief, Defendants failed to comply with N.J.A.C. 12:56-4.6, which

       requires employers of employees who receive gratuities to “maintain and preserve payroll

       or other records containing the total gratuities received by each employee during the

       payroll week.”

42.    As part of their regular business practices, Defendants intentionally, willfully, and

       repeatedly have engaged in a policy, pattern, and/or practice of violating the FLSA and

       NJWHL. This policy, pattern, and/or practice has included but is not limited to:

       a. failing to pay all tips received by its tipped employees to those employees in occupations

         which “customarily and regularly receive tips” by permitting the taking of tips and

         gratuities by management personnel;
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       b. failing to provide required notice of the tip credit provisions of the FLSA;

       c. failing to pay Plaintiffs the proper minimum wage for each hour worked; and

       d. failing to pay Plaintiffs the proper overtime compensation at the rate of one and one-half

         times the regular rate for work in excess of forty (40) hours per workweek.

                             PLAINTIFF RIGOBERTO ANDUX MIRABAL

43.    Defendants employed Plaintiff Mirabal from approximately June 15, 2016 through

       approximately June 15, 2017.

44.    Throughout his employment, Plaintiff Mirabal typically worked from approximately 8:00

       a.m. to 7:00 p.m., Mondays through Fridays and from approximately 7:00 a.m. to 7:00 p.m.

       on Saturdays.

45.    Defendants typically paid Plaintiff Mirabal approximately $325 per week, two weeks a

       month, and approximately $350 per week, two weeks a month.

46.    Defendants failed to pay Plaintiff Mirabal the proper minimum wage.

47.    Throughout his employment, Defendants failed to pay Plaintiff Mirabal the proper

       overtime compensation at the rate of one-and-one-half times the regular rate for work in

       excess of forty (40) hours per workweek.


                                PLAINTIFF GABRIEL CANO ARANGO

48.    Defendants employed Plaintiff Arango from approximately August 20, 2017 through

       approximately December 23, 2018.

49.    From approximately August 20, 2017 through approximately October 7, 2017, Plaintiff

       Arango worked approximately 60 hours per week, on average.

50.    From approximately October 8, 2017 through approximately December 23, 2018, Plaintiff

       Arango typically worked over 45 hours per week.
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51.    Defendants typically paid Plaintiff Arango at a regular rate of $7 per hour.

52.    Throughout his employment, Defendants failed to pay Plaintiff Arango the proper

       minimum wage.

53.    Throughout his employment, Defendants failed to pay Plaintiff Arango the proper overtime

       compensation at the rate of one-and-one-half times the regular rate for work in excess of

       forty (40) hours per workweek.


                               PLAINTIFF YOAN AQUINO MARTINEZ

54.    Defendants employed Plaintiff Martinez from approximately November 2015 through

       approximately October 5, 2017.

55.    Throughout his employment, Plaintiff Martinez typically worked 7 days a week, from

       approximately 8:00 a.m. to 7:00 p.m., Mondays through Fridays, from approximately 7:00

       a.m. to 7:00 p.m. on Saturdays and from approximately 8:00 a.m. to 5:00 p.m. on Sundays.

56.    Throughout his employment, Plaintiff Martinez was typically paid approximately $6 per

       hour.

57.    Throughout his employment, Defendants failed to pay Plaintiff Martinez the proper

       minimum wage.

58.    Throughout his employment, Defendants failed to pay Plaintiff Martinez the proper

       overtime compensation at the rate of one and one-half times the regular rate for work in

       excess of forty (40) hours per workweek.


                         PLAINTIFF LUCAS ALBERTO PEDRONZO TOLEDO

59.    Defendants employed Plaintiff Toledo from approximately July 2013 through

       approximately May 1, 2018.
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60.   From approximately July 2013 through approximately February 2018, Plaintiff Toledo

      typically worked from approximately 2:00 p.m. to 7:00 p.m., Mondays through Fridays and

      from approximately 7:00 a.m. to 7:00 p.m. on Saturdays.

61.   From approximately March 2018 through approximately May 1, 2018, Plaintiff Toledo

      typically worked from approximately 2:00 p.m. to 6:00 p.m., Mondays through Fridays and

      from approximately 7:00 a.m. to 7:00 p.m. on Saturdays.

62.   Throughout his employment, Defendants typically paid Plaintiff Toledo approximately $6

      per hour.

63.   Throughout his employment, Defendants failed to pay Plaintiff Toledo the proper

      minimum wage.


                               PLAINTIFF JULIO CESAR OCHOA

64.   Defendants employed Plaintiff Ochoa from approximately November 14, 2012 through

      approximately February 2, 2019.

65.   From approximately November 14, 2012 through approximately February 2018, Plaintiff

      Ochoa typically worked 6 days a week with Thursdays off, from approximately 8:00 a.m.

      to 7:00 p.m. Monday through Friday, from approximately 7:00 a.m. to 7:00 p.m. on

      Saturdays, and from approximately 8:00 a.m. to 5:00 p.m. on Sundays.

66.   From approximately March 2018 through approximately February 2, 2019, Plaintiff Ochoa

      typically worked 6 days a week with Thursdays off, from approximately 8:00 a.m. to 6:00

      p.m. Monday through Friday, from approximately 7:00 a.m. to 7:00 p.m. on Saturdays, and

      from approximately 8:00 a.m. to 5:00 p.m. on Sundays.

67.   Throughout his employment, Defendants typically paid Plaintiff Ochoa approximately

      $380 per week.
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68.   Throughout his employment, Defendants failed to pay Plaintiff Ochoa the proper minimum

      wage.

69.   Throughout his employment, Defendants failed to pay Plaintiff Ochoa the proper overtime

      compensation at the rate of one and one-half times the regular rate for work in excess of

      forty (40) hours per workweek.


                          PLAINTIFF NELSON DANIEL BATISTA CORBO

70.   Defendants employed Plaintiff Corbo during various periods from approximately 2002

      through approximately February 14, 2018.

71.   From approximately January 2013 through approximately December 31, 2014, Plaintiff

      Corbo typically worked 6 days per week, from approximately 7:00 a.m. to 7:00 p.m.,

      Mondays through Saturdays, and from approximately 8:00 a.m. to 5:00 p.m. on Sundays.

72.   Plaintiff Corbo did not work for Defendants form approximately January 1, 2014 through

      approximately June 30, 2016.

73.   From approximately July 1, 2016 through approximately August 2017, Plaintiff Corbo

      typically worked from approximately 8:00 a.m. to 7:00 p.m., Mondays through Fridays,

      from approximately 7:00 a.m. to 7:00 p.m. on Saturdays and from approximately 8:00 a.m.

      to 5:00 p.m. on Sundays.

74.   From approximately September 2017 through approximately February 14, 2018, Plaintiff

      Corbo typically worked from approximately 8:00 a.m. to 7:00 p.m., Mondays through

      Fridays and from approximately 7:00 a.m. to 7:00 p.m. on Saturdays.

75.   From approximately August 2013 through approximately December 31, 2013, Defendants

      paid Plaintiff Corbo approximately $500 per week.
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76.   From approximately January 1, 2014 through approximately December 31, 2014,

      Defendants paid Plaintiff Corbo approximately $9 per hour.

77.   From approximately July 1, 2016 through approximately February 14, 2018, Defendants

      paid Plaintiff Corbo approximately $8 per hour.

78.   From approximately July 1, 2016 through approximately February 14, 2018, Defendants

      failed to pay Plaintiff Corbo the proper minimum wage.

79.   Throughout his employment, Defendants failed to pay Plaintiff Corbo the proper overtime

      compensation at the rate of one and one-half times the regular rate for work in excess of

      forty (40) hours per workweek.


                       PLAINTIFF WILLIAM RICARDO ANTUNEZ VALDEZ

80.   Defendants employed Plaintiff Valdez from approximately November 1, 2013 through

      approximately June 24, 2018.

81.   Throughout his employment, Plaintiff Valdez typically worked 7 days a week, from

      approximately 8:00 a.m. to 5:00 p.m. Mondays through Fridays, from approximately 8:00

      a.m. to 6:00 p.m. on Saturdays, and from approximately 8:00 a.m. to 5:00 p.m. on Sundays.

82.   From approximately November 1, 2013 through approximately February 2017, Defendants

      paid Plaintiff Valdez approximately $6 per hour.

83.   From approximately March 2017 through approximately June 24, 2018, Defendants paid

      Plaintiff Valdez approximately $7 per hour.

84.   Throughout his employment, Defendants failed to pay Plaintiff Valdez the proper

      minimum wage.
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85.   Throughout his employment, Defendants failed to pay Plaintiff Valdez the proper overtime

      compensation at the rate of one and one-half times the regular rate for work in excess of

      forty (40) hours per workweek.


                                  PLAINTIFF CARLOS ALBERTO

86.   Defendants employed Plaintiff Alberto from at least January 1, 2012 through

      approximately June 6, 2018.

87.   From approximately January 1, 2012 through approximately February 2018, Plaintiff

      Alberto typically worked 7 days a week, from approximately 8:00 a.m. to 7:00 p.m.

      Mondays through Fridays, from approximately 7:00 a.m. to 7:00 p.m. on Saturdays, and

      from approximately 8:00 a.m. to 5:00 p.m. on Sundays.

88.   From approximately March 2018 through approximately June 6, 2018, Plaintiff Alberto

      typically worked 7 days a week, from approximately 8:00 a.m. to 6:00 p.m., Mondays

      through Fridays, from approximately 7:00 a.m. to 7:00 p.m. on Saturdays, and from

      approximately 8:00 a.m. to 5:00 p.m. on Sundays.

89.   From approximately Januauy 1, 2012 through approximately December 31, 2017,

      Defendants paid Plaintiff Albert approximately $7.50 per hour.

90.   From approximately January 2018 through approximately June 6, 2018, Defendants paid

      Plaintiff Albert approximately $9 per hour.

91.   From approximately January 1, 2012 through approximately December 31, 2017,

      Defendants failed to pay Plaintiff Alberto the proper minimum wage.

92.   Throughout his employment, Defendants failed to pay Plaintiff Alberto the proper overtime

      compensation at the rate of one and one-half times the regular rate for work in excess of

      forty (40) hours per workweek.
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                              FIRST CAUSE OF ACTION
                  FAIR LABOR STANDARDS ACT – UNPAID MINIMUM WAGE

93.   Plaintiffs repeat, re-allege and incorporate by reference the foregoing allegations as if set

      forth fully and again herein.

94.   Named Plaintiffs have consented to be parties to this action pursuant to 29 U.S.C. § 216(b).

95.   Defendants have engaged in a widespread pattern and practice of violating the FLSA, as

      detailed in this complaint.

96.   Defendants cannot avail themselves of the tip credit as Defendants unlawfully permitted

      management personnel to improperly take and retain tips earned by Plaintiffs and failed to

      advise Plaintiffs of the tip credit provisions pursuant to the FLSA and the cases interpreting

      it.

97.   Defendants failed to maintain proper employment records as required by the FLSA and 29

      C.F.R. 516.

98.   Defendants were required to pay Plaintiffs at a rate not less than the minimum wage rate

      under the FLSA for all hours worked.

99.   Defendants willfully and knowingly failed to pay Plaintiffs the required minimum wages

      under the FLSA for each hour worked.

100. Because of the Defendants’ willful violations of the FLSA, a three-year statute of

      limitations applies to such violations pursuant to 29 U.S.C. § 255.

101. As a result of the unlawful acts of the Defendants, Plaintiffs have been deprived of wages

      in amounts to be determined at trial, and are entitled to recovery of such amounts,

      liquidated damages, attorneys’ fees, costs, and other compensation pursuant to 29 U.S.C.

      § 216(b).
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                         SECOND CAUSE OF ACTION
               NEW JERSEY WAGE LAWS – UNPAID MINIMUM WAGE

102. Plaintiffs repeat, re-allege and incorporate by reference the foregoing allegations as if set

     forth fully and again herein.

103. Defendants have engaged in a widespread pattern and practice of violating the NJWHL, as

     detailed in this complaint.

104. The minimum wage provisions set forth in the NJWHL and its supporting regulations apply

     to Defendants and Plaintiffs.

105. Defendants failed to maintain proper employment records as required by the NJWHL.

106. Defendants were required to pay Plaintiffs at a rate not less than the minimum wage rate

     under the NJWHL for all hours worked.

107. Defendants willfully failed to pay Plaintiffs the minimum wage for each hour worked.

108. As a result of the unlawful acts of the Defendants, Plaintiffs have been deprived of wages

     in amounts to be determined at trial, and are entitled to recovery of such amounts,

     liquidated damages, attorneys’ fees, costs, and other compensation pursuant to the NJWHL.

                             THIRD CAUSE OF ACTION
                    FAIR LABOR STANDARDS ACT – UNPAID OVERTIME

109. Plaintiffs repeat, re-allege and incorporate by reference the foregoing allegations as if set

     forth fully and again herein.

110. Named Plaintiffs have consented to be parties to this action pursuant to 29 U.S.C. § 216(b).

111. Defendants have engaged in a widespread pattern and practice of violating the FLSA, as

     detailed in this complaint.

112. The overtime wage provisions set forth in the FLSA, 29 U.S.C. §§ 201 et seq., and the

     supporting federal regulations, apply to Defendants and protect Plaintiffs.
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113. Defendants failed to maintain proper employment records as required by the FLSA and 29

     C.F.R. 516.

114. Defendants willfully, knowingly and repeatedly refused to pay Plaintiffs overtime

     compensation at the statutory rate of time-and-a-half for all hours worked in excess of forty

     hours per workweek, as required by the FLSA.

115. Because of the Defendants’ willful violations of the FLSA, a three-year statute of

     limitations applies to such violations pursuant to 29 U.S.C. § 255.

116. As a result of the unlawful acts of Defendants, Plaintiffs have been deprived of overtime

     compensation in amounts to be determined at trial, and are entitled to recovery of such

     amounts, as well as, liquidated damages, attorneys’ fees, costs, and other compensation

     pursuant to 29 U.S.C. § 216(b).


                             FOURTH CAUSE OF ACTION
                       NEW JERSEY WAGE LAW – UNPAID OVERTIME

117. Plaintiffs repeat, re-allege and incorporate by reference the foregoing allegations as if set

     forth fully and again herein.

118. Defendants have engaged in a widespread pattern and practice of violating the NJWHL, as

     detailed in this complaint.

119. The overtime wage provisions set forth in the NJWHL apply to Defendants and protect

     Plaintiffs.

120. Defendants failed to pay Plaintiffs overtime compensation at a rate of not less than one and

     one-half times the regular rate of pay for all hours worked in excess of forty (40) each

     week, as required by the NJWHL.
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121. Consequently, by failing to pay to Plaintiffs the overtime compensation for work the

      performed after the first forty (40) hours worked in a week, Defendants violated the

      NJWHL.

122. As a result of the unlawful acts of Defendants, Plaintiffs have been deprived of overtime

      compensation in amounts to be determined at trial, and are entitled to recovery of such

      amounts, liquidated damages, attorneys’ fees, costs, and other compensation pursuant to the

      NJWHL.


                                DEMAND FOR TRIAL BY JURY

123. Named Plaintiffs, on behalf of themselves and all other members of the FLSA Collective

      and Putative Class, request a jury trial on all issues of fact and damages arising herein.


                                      PRAYER FOR RELIEF

WHEREFORE, the Named Plaintiffs, on behalf of themselves and all other members of the

      FLSA Collective and Putative Class, respectfully request that this Court grant the following

      relief:

(1)   That, at the earliest possible time, Named Plaintiffs be allowed to give notice of this

      collective action, or that the court issue such notice, to all persons who are presently, or

      have been at any time during the three years immediately preceding the filing of this suit,

      up through and including the date of this court’s issuance of court-supervised notice,

      employed by Defendants as non-exempt employees. Such notice shall inform them that

      this civil action has been filed, of the nature of the action, and of their right to join this

      lawsuit if they believe they were denied proper minimum hourly compensation, and/or

      overtime compensation wages;
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(2)   Certification of this action as a class action pursuant to FRCP Rule 23 on behalf of the

      members of the Putative Class and appointing the Named Plaintiffs and their counsel to

      represent the Putative Class;

(3)   Designation of Named Plaintiffs as representatives of the Putative Class, and counsel of

      record as Class Counsel;

(4)   A declaratory judgment that the practices complained of herein are unlawful under the

      FLSA and NJWHL;

(5)   Appropriate equitable and injunctive relief to remedy Defendant's violations of the FLSA

      and NJWHL;

(6)   An award of monetary damages to be determined at trial for wages owed, unpaid overtime

      compensation, penalties, liquidated damages and all other monies owed to Plaintiffs;

(7)   An award of attorneys’ fees and costs of this action;

(8)   An injunction against the Defendants and its officers, agents, successors, employees,

      representatives and any and all persons acting in concert with Defendants, as provided by

      law, from engaging in each of the unlawful practices, policies and patterns set forth herein;

(9)   Such other and further relief as this Court deems just and proper.


Dated: New York, New York
       August 13, 2019
                                              Respectfully submitted,

                                              ARENSON, DITTMAR & KARBAN

                                                      s/ Avi Mermelstein            _
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